Form 6-Summary (10/06)



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                                                                  United States Bankruptcy Court
                                                                           Eastern District of Michigan
  In re          Robert William Geddes,                                                                               Case No.      07-52776
                 Susan Mary Geddes
                                                                                                                ,
                                                                                               Debtors                Chapter                      7




                                                                       SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                             ATTACHED                NO. OF          ASSETS                LIABILITIES               OTHER
                                                            (YES/NO)               SHEETS

A - Real Property                                                 Yes                 1                  165,000.00


B - Personal Property                                             Yes                 4                   38,859.44


C - Property Claimed as Exempt                                    Yes                 2


D - Creditors Holding Secured Claims                              Yes                 1                                         191,989.00


E - Creditors Holding Unsecured                                   Yes                 1                                               0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                   Yes                 3                                         149,011.00
    Nonpriority Claims

G - Executory Contracts and                                       Yes                 1
   Unexpired Leases

H - Codebtors                                                     Yes                 1


I - Current Income of Individual                                  Yes                 2                                                                  4,234.93
    Debtor(s)

J - Current Expenditures of Individual                            Yes                 2                                                                  5,345.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                            18


                                                                                Total Assets             203,859.44


                                                                                                 Total Liabilities              341,000.00




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                                                                  United States Bankruptcy Court
                                                                           Eastern District of Michigan
  In re            Robert William Geddes,                                                                               Case No.   07-52776
                   Susan Mary Geddes
                                                                                                             ,
                                                                                          Debtors                       Chapter                  7


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                    report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                     Amount

              Domestic Support Obligations (from Schedule E)                                                         0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                     0.00

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E)
                                                                                                                     0.00

              Student Loan Obligations (from Schedule F)                                                             0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                     0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                     0.00

                                                                                 TOTAL                               0.00


              State the following:

              Average Income (from Schedule I, Line 16)                                                          4,234.93

              Average Expenses (from Schedule J, Line 18)                                                        5,345.00

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                           4,798.34


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                        26,989.00

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                                     0.00

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                              0.00

              4. Total from Schedule F                                                                                                 149,011.00

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                             176,000.00




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 In re         Robert William Geddes,                                                                      Case No.      07-52776
               Susan Mary Geddes
                                                                                               ,
                                                                                Debtors
                                                   SCHEDULE A. REAL PROPERTY
      Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, or both own the property by placing an "H," "W," "J," or "C" in the column
labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under "Description and Location of Property."
      Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
      If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim."
      If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.

                                                                                               Husband,    Current Value of
                                                                    Nature of Debtor's          Wife,     Debtor's Interest in             Amount of
               Description and Location of Property                 Interest in Property        Joint, or  Property, without              Secured Claim
                                                                                              Community Deducting  any Secured
                                                                                                          Claim or Exemption

13078 MASONIC BOULEVARD                                             FEE SIMPLE SUBJECT             J                  165,000.00                191,989.00
WARREN, MI 48088                                                    TO MORTGAGE
DEBTORS RESIDENCE
SEV= $80,630.00




                                                                                                Sub-Total >           165,000.00          (Total of this page)

                                                                                                       Total >        165,000.00
 0     continuation sheets attached to the Schedule of Real Property                            (Report also on Summary of Schedules)
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  In re          Robert William Geddes,                                                                                 Case No.       07-52776
                 Susan Mary Geddes
                                                                                                            ,
                                                                                           Debtors
                                                           SCHEDULE B. PERSONAL PROPERTY
   Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing
an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint petition is filed, state the
amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
  Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
In providing the information requested in this schedule, do not include the name or address of a minor child. Simply state "a minor child."
                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

1.     Cash on hand                                              CASH ON HAND                                                      J                         100.00

2.     Checking, savings or other financial                      CHECKING ACCOUNT- ACCOUNT IS JOINTLY                              J                         664.31
       accounts, certificates of deposit, or                     OWNED WITH THREE CHILDREN AND MOTHER
       shares in banks, savings and loan,                        CHASE BANK
       thrift, building and loan, and                            ACCOUNT # 1601541349
       homestead associations, or credit
       unions, brokerage houses, or                              CHASE BANK                                                        J                       3,283.00
       cooperatives.                                             SAVINGS ACCOUNT- JOINT WITH THREE SIBLINGS
                                                                 AND MOTHER
                                                                 ACCOUNT # 1601541343

                                                                 CHASE BANK                                                        J                          28.50
                                                                 CHECKING ACCOUNT
                                                                 ACCOUNT # 21617685

                                                                 CHASE BANK                                                        J                         350.00
                                                                 CHECKING ACCOUNT-JOINT WITH SON
                                                                 ACCOUNT# 21617685

                                                                 CHASE BANK                                                        J                       1,859.63
                                                                 CHECKING ACCOUNT
                                                                 ACCOUNT # 7685

3.     Security deposits with public                         X
       utilities, telephone companies,
       landlords, and others.

4.     Household goods and furnishings,                          HOUSEHOLD GOODS , STOVE, REFRIGERATOR,                            J                       3,000.00
       including audio, video, and                               FURNITURE AND OTHER HOUSEHOLD
       computer equipment.                                       APPLIANCES

5.     Books, pictures and other art                             COLLECTIBLE PLATES                                                J                         200.00
       objects, antiques, stamp, coin,
       record, tape, compact disc, and
       other collections or collectibles.

6.     Wearing apparel.                                          ASSORTED CLOTHING                                                 J                         200.00




                                                                                                                                   Sub-Total >           9,685.44
                                                                                                                       (Total of this page)

  3     continuation sheets attached to the Schedule of Personal Property

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  In re          Robert William Geddes,                                                                                 Case No.       07-52776
                 Susan Mary Geddes
                                                                                                            ,
                                                                                           Debtors
                                                           SCHEDULE B. PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

7.     Furs and jewelry.                                         NECKLACES, RINGS, BRACELETS, WEDDING                              J                       3,000.00
                                                                 RINGS

8.     Firearms and sports, photographic,                        PHOTOGRAPHY EQUIPMENT                                             J                          50.00
       and other hobby equipment.
                                                                 CAMCORDER                                                         J                          50.00

9.     Interests in insurance policies.                          TERM LIFE INSURANCE THROUGH                                       J                           1.00
       Name insurance company of each                            MASSACHUSETTS INDEMNITY
       policy and itemize surrender or                           POLICY # ML-Y95
       refund value of each.
                                                                 TERM LIFE POLICY THROUGH                                          J                           1.00
                                                                 AMERICAN INCOME LIFE INSURANCE
                                                                 POLICY # SGF2201847

10. Annuities. Itemize and name each                         X
    issuer.

11. Interests in an education IRA as                         X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c); Rule 1007(b)).

12. Interests in IRA, ERISA, Keogh, or                           401 (K) PLAN THROUGH MEIJER                                       W                     24,597.00
    other pension or profit sharing
    plans. Give particulars.                                     401 (K) PLAN THROUGH EMPLOYER B&B                                 H                          85.00
                                                                 TRUCKING
                                                                 PLAN JUST STARTED 7/5/07

13. Stock and interests in incorporated                      X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                       X
    ventures. Itemize.

15. Government and corporate bonds                           X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                     X

17. Alimony, maintenance, support, and                       X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.



                                                                                                                                   Sub-Total >         27,784.00
                                                                                                                       (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property
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  In re          Robert William Geddes,                                                                                 Case No.       07-52776
                 Susan Mary Geddes
                                                                                                            ,
                                                                                           Debtors
                                                           SCHEDULE B. PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

18. Other liquidated debts owing debtor                      X
    including tax refunds. Give
    particulars.

19. Equitable or future interests, life                      X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                             X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                        X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                           X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                          X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                     X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                           1995 FORD ESCORT                                                  H                         425.00
    other vehicles and accessories.                              MILEAGE:122,00.00

26. Boats, motors, and accessories.                          X

27. Aircraft and accessories.                                X

28. Office equipment, furnishings, and                           COMPUTER, PRINTER & DESK                                          J                         500.00
    supplies.

29. Machinery, fixtures, equipment, and                      X
    supplies used in business.


                                                                                                                                   Sub-Total >             925.00
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Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property
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 In re       Robert William Geddes,                                                                        Case No.        07-52776
             Susan Mary Geddes
                                                                                               ,
                                                                                Debtors
                                              SCHEDULE B. PERSONAL PROPERTY
                                                                     (Continuation Sheet)

                                               N                                                                  Husband,        Current Value of
             Type of Property                  O                   Description and Location of Property            Wife,     Debtor's Interest in Property,
                                               N                                                                   Joint, or   without Deducting any
                                               E                                                                 Community Secured Claim or Exemption

30. Inventory.                                 X

31. Animals.                                   X

32. Crops - growing or harvested. Give         X
    particulars.

33. Farming equipment and                      X
    implements.

34. Farm supplies, chemicals, and feed.        X

35. Other personal property of any kind            CELL PHONES                                                         J                         40.00
    not already listed. Itemize.
                                                   WRENCHES , SOCKET SETS                                              H                        150.00

                                                   VARIOUS POWER TOOLS                                                 H                        200.00

                                                   LAWMOWER, RAKES, SHOVELS                                            J                         75.00




                                                                                                                      Sub-Total >             465.00
                                                                                                          (Total of this page)
                                                                                                                           Total >         38,859.44
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                  (Report also on Summary of Schedules)
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   In re          Robert William Geddes,                                                                                 Case No.       07-52776
                  Susan Mary Geddes
                                                                                                                ,
                                                                                               Debtors
                                               SCHEDULE C. PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                         Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                         $136,875.
    11 U.S.C. §522(b)(2)
    11 U.S.C. §522(b)(3)

                                                                                       Specify Law Providing                   Value of            Current Value of
                    Description of Property                                               Each Exemption                       Claimed             Property Without
                                                                                                                              Exemption          Deducting Exemption
Real Property
13078 MASONIC BOULEVARD                                                          11 U.S.C. § 522(d)(1)                                    0.00            165,000.00
WARREN, MI 48088
DEBTORS RESIDENCE
SEV= $80,630.00

Cash on Hand
CASH ON HAND                                                                     11 U.S.C. § 522(d)(5)                                100.00                   100.00

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
CHECKING ACCOUNT- ACCOUNT IS JOINTLY              11 U.S.C. § 522(d)(5)                                                               664.31                 2,657.24
OWNED WITH THREE CHILDREN AND MOTHER
CHASE BANK
ACCOUNT # 1601541349

CHASE BANK                                                                       11 U.S.C. § 522(d)(5)                              3,283.00                13,132.00
SAVINGS ACCOUNT- JOINT WITH THREE
SIBLINGS AND MOTHER
ACCOUNT # 1601541343

CHASE BANK                                                                       11 U.S.C. § 522(d)(5)                                 28.50                    57.00
CHECKING ACCOUNT
ACCOUNT # 21617685

CHASE BANK                                                                       11 U.S.C. § 522(d)(5)                                350.00                   700.00
CHECKING ACCOUNT-JOINT WITH SON
ACCOUNT# 21617685

CHASE BANK                                                                       11 U.S.C. § 522(d)(5)                              1,859.63                 1,859.63
CHECKING ACCOUNT
ACCOUNT # 7685

Household Goods and Furnishings
HOUSEHOLD GOODS , STOVE,                                                         11 U.S.C. § 522(d)(3)                              3,000.00                 3,000.00
REFRIGERATOR, FURNITURE AND OTHER
HOUSEHOLD APPLIANCES

Books, Pictures and Other Art Objects; Collectibles
COLLECTIBLE PLATES                                  11 U.S.C. § 522(d)(5)                                                             200.00                   200.00

Wearing Apparel
ASSORTED CLOTHING                                                                11 U.S.C. § 522(d)(3)                                200.00                   200.00

Furs and Jewelry
NECKLACES, RINGS, BRACELETS, WEDDING                                             11 U.S.C. § 522(d)(4)                              2,700.00                 3,000.00
RINGS                                                                            11 U.S.C. § 522(d)(5)                                300.00

Firearms and Sports, Photographic and Other Hobby Equipment
PHOTOGRAPHY EQUIPMENT                           11 U.S.C. § 522(d)(5)                                                                  50.00                    50.00

CAMCORDER                                                                        11 U.S.C. § 522(d)(5)                                 50.00                    50.00

    1      continuation sheets attached to Schedule of Property Claimed as Exempt
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   In re          Robert William Geddes,                                                                           Case No.    07-52776
                  Susan Mary Geddes
                                                                                                               ,
                                                                                                Debtors
                                               SCHEDULE C. PROPERTY CLAIMED AS EXEMPT
                                                                                       (Continuation Sheet)

                                                                                       Specify Law Providing           Value of            Current Value of
                    Description of Property                                               Each Exemption               Claimed             Property Without
                                                                                                                      Exemption          Deducting Exemption

Interests in Insurance Policies
TERM LIFE INSURANCE THROUGH                                                      11 U.S.C. § 522(d)(7)                         100%                     1.00
MASSACHUSETTS INDEMNITY
POLICY # ML-Y95

TERM LIFE POLICY THROUGH                                                         11 U.S.C. § 522(d)(7)                         100%                     1.00
AMERICAN INCOME LIFE INSURANCE
POLICY # SGF2201847

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
401 (K) PLAN THROUGH MEIJER                         11 U.S.C. § 522(d)(10)(E)                                                  100%                24,597.00
                                                    11 U.S.C. § 522(d)(12)                                                     100%

401 (K) PLAN THROUGH EMPLOYER B&B                                                11 U.S.C. § 522(d)(10)(E)                     100%                    85.00
TRUCKING
PLAN JUST STARTED 7/5/07

Automobiles, Trucks, Trailers, and Other Vehicles
1995 FORD ESCORT                                                                 11 U.S.C. § 522(d)(2)                        425.00                  425.00
MILEAGE:122,00.00

Office Equipment, Furnishings and Supplies
COMPUTER, PRINTER & DESK                                                         11 U.S.C. § 522(d)(5)                        500.00                  500.00

Other Personal Property of Any Kind Not Already Listed
CELL PHONES                                       11 U.S.C. § 522(d)(5)                                                        40.00                   40.00

WRENCHES , SOCKET SETS                                                           11 U.S.C. § 522(d)(5)                        150.00                  150.00

VARIOUS POWER TOOLS                                                              11 U.S.C. § 522(d)(5)                        200.00                  200.00

LAWMOWER, RAKES, SHOVELS                                                         11 U.S.C. § 522(d)(5)                         75.00                   75.00




                                                                                                      Total:              63,456.44               216,079.87
 Sheet       1     of     1     continuation sheets attached to the Schedule of Property Claimed as Exempt
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   In re           Robert William Geddes,                                                                                         Case No.     07-52776
                   Susan Mary Geddes
                                                                                                                     ,
                                                                                                     Debtors
                                      SCHEDULE D. CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, indicate that by stating "a minor child" and do not disclose the child’s
 name. See 11 U.S.C. § 112. If "a minor child" is stated, also include the name, address, and legal relationship to the minor child of a person described in Fed. R. Bankr. P.
 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
              CREDITOR'S NAME                                   O                                                             O    N   I
                                                                D   H         DATE CLAIM WAS INCURRED,                        N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                             T    I   P       WITHOUT        UNSECURED
            INCLUDING ZIP CODE,                                 B   W            NATURE OF LIEN, AND                          I    Q   U                      PORTION, IF
                                                                T   J          DESCRIPTION AND VALUE                          N    U   T
                                                                                                                                              DEDUCTING
           AND ACCOUNT NUMBER                                   O                                                             G    I   E       VALUE OF          ANY
             (See instructions above.)
                                                                    C               OF PROPERTY
                                                                R
                                                                                   SUBJECT TO LIEN
                                                                                                                              E    D   D     COLLATERAL
                                                                                                                              N    A
                                                                                                                              T    T
Account No. 6407                                                        2005-2007                                                  E
                                                                                                                                   D
Creditor #: 1                                                           SECOND MORTGAGE
IRWIN HOME EQUITY
                                                                      13078 MASONIC BOULEVARD
12677 ALCOSTA BLVD. SUITE 5
                                                                      WARREN, MI 48088
San Ramon, CA 94583
                                                                    J DEBTORS RESIDENCE
                                                                      SEV= $80,630.00
                                                                         Value $                             165,000.00                         91,204.00          26,989.00
Account No. 8837                                                        2003-2007
Creditor #: 2                                                           MORTGAGE
WELLS FARGO
                                                                      13078 MASONIC BOULEVARD
PO BOX 29704
                                                                      WARREN, MI 48088
Phoenix, AZ 85038
                                                                    J DEBTORS RESIDENCE
                                                                      SEV= $80,630.00
                                                                         Value $                             165,000.00                        100,785.00                 0.00
Account No.




                                                                         Value $
Account No.




                                                                         Value $
                                                                                                                           Subtotal
 0
_____ continuation sheets attached                                                                                                             191,989.00          26,989.00
                                                                                                                  (Total of this page)
                                                                                                                             Total             191,989.00          26,989.00
                                                                                                   (Report on Summary of Schedules)
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 In re            Robert William Geddes,                                                                                  Case No.         07-52776
                  Susan Mary Geddes
                                                                                                              ,
                                                                                         Debtors
                          SCHEDULE E. CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, indicate that by stating "a minor child" and do not disclose the child’s name. See 11 U.S.C. § 112. If "a minor child" is stated, also
     include the name, address, and legal relationship to the minor child of a person described in Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts who file a case under
     chapter 7 or 13 report this total also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts who file a case
     under chapter 7 report this total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative of
     such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a trust
     or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
        Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not delivered
     provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or another
     substance. 11 U.S.C. § 507(a)(10).




     * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                        0       continuation sheets attached
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   In re           Robert William Geddes,                                                                                     Case No.     07-52776
                   Susan Mary Geddes
                                                                                                                          ,
                                                                                                        Debtors

                  SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, indicate that by stating "a minor child" and do not disclose the
 child’s name. See 11 U.S.C. § 112. If "a minor child" is stated, also include the name, address, and legal relationship to the minor child of a person described in Fed. R.
 Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts filing a case under chapter 7, report this total also on the Statistical Summary of Certain
 Liabilities and Related Data.

       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                     CREDITOR'S NAME,                                            O                                                           O   N   I
                  AND MAILING ADDRESS                                            D   H                                                       N   L   S
                   INCLUDING ZIP CODE,                                           E               DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                     W
                  AND ACCOUNT NUMBER
                                                                                 B             CONSIDERATION FOR CLAIM. IF CLAIM             I   Q   U
                                                                                                                                                         AMOUNT OF CLAIM
                                                                                 T   J                                                       N   U   T
                                                                                 O               IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                    (See instructions above.)                                    R
                                                                                     C
                                                                                                                                             E   D   D
                                                                                                                                             N   A
Account No. 1035                                                                         1998-2007                                           T   T
                                                                                                                                                 E
Creditor #: 1                                                                            REVOLVING CHARGE                                        D

BANK OF AMERICA
P.O. BOX 1758                                                                        J
NEWARK, NJ 07101-1758

                                                                                                                                                                     21,361.00
Account No. 8990                                                                         2004-2007
Creditor #: 2                                                                            REVOLVING CHARGE
BANK OF AMERICA
P.O. BOX 15480                                                                       H
Wilmington, DE 19850

                                                                                                                                                                     13,521.00
Account No. 8990                                                                         2004-2007
Creditor #: 3                                                                            REVOLVING CHARGE
BANK OF AMERICA
P.O. BOX 1758                                                                        W
NEWARK, NJ 07101-1758

                                                                                                                                                                     13,667.00
Account No. 3629                                                                         1999-2007
Creditor #: 4                                                                            CREDIT CARD PURCHASES
CHASE
P.O. BOX 15298                                                                       J
WILMINGTON, DE 19850-5298

                                                                                                                                                                       2,161.00

                                                                                                                                           Subtotal
 2
_____ continuation sheets attached                                                                                                                                   50,710.00
                                                                                                                                 (Total of this page)




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   In re            Robert William Geddes,                                                                                    Case No.     07-52776
                    Susan Mary Geddes
                                                                                                                          ,
                                                                                                        Debtors
                   SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                     CREDITOR'S NAME,                                            O                                                           O   N   I
                  AND MAILING ADDRESS                                            D   H                                                       N   L   S
                   INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                  AND ACCOUNT NUMBER                                             T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                    (See instructions above.)                                    R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. 3629                                                                         1999-2007                                               E
Creditor #: 5                                                                            CREDIT CARD PURCHASES                                   D

CHASE
P.O. BOX 15298                                                                       W
WILMINGTON, DE 19850-5298

                                                                                                                                                                21,991.00
Account No. 4503                                                                         1995-2007
Creditor #: 6                                                                            CREDIT CARD PURCHASES
CHASE
P.O. BOX 15298                                                                       W
WILMINGTON, DE 19850-5298

                                                                                                                                                                21,653.00
Account No. xxxx-2007                                                                    6251
Creditor #: 7                                                                            REVOLVING CHARGE
Discover Financial Services
PO Box 15316                                                                         J
Wilmington, DE 19886

                                                                                                                                                                15,033.00
Account No. 6138                                                                         2006-2007
Creditor #: 8                                                                            CREDIT CARD PURCHASES
Discover Financial Services
PO Box 15316                                                                         J
Wilmington, DE 19886

                                                                                                                                                                 4,999.00
Account No. 0011                                                                         1998-2007
Creditor #: 9                                                                            UTLITY
DTE ENERGY
PO Box 2859                                                                          J
Detroit, MI 48260

                                                                                                                                                                  198.00

           1
Sheet no. _____     2
                of _____ sheets attached to Schedule of                                                                                    Subtotal
                                                                                                                                                                63,874.00
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re            Robert William Geddes,                                                                                          Case No.      07-52776
                    Susan Mary Geddes
                                                                                                                           ,
                                                                                                        Debtors
                   SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                             C   U   D
                     CREDITOR'S NAME,                                            O                                                                  O   N   I
                  AND MAILING ADDRESS                                            D   H                                                              N   L   S
                   INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                                 B                                                                  I   Q   U
                  AND ACCOUNT NUMBER                                             T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                    (See instructions above.)                                    R                                                                  E   D   D
                                                                                                                                                    N   A
                                                                                                                                                    T   T
Account No. 4060                                                                         2003-2007                                                      E
Creditor #: 10                                                                           CREDIT CARD PURCHASES                                          D

GEMB/SAMS CLUB
PO Box 981400                                                                        W
El Paso, TX 79998

                                                                                                                                                                         607.00
Account No. 0088                                                                         1998-2007
Creditor #: 11                                                                           CREDIT CARD PURCHASES
HSBC NV
1441 Schilling Place                                                                 W
Salinas, CA 91901

                                                                                                                                                                       16,024.00
Account No. 2713                                                                         2006-2007
Creditor #: 12                                                                           REVOLVING CHARGE
INFIBank
3480 Piedmont Rd NE                                                                  W
Atlanta, GA 30305

                                                                                                                                                                        5,323.00
Account No. 6779                                                                         1986-2007
Creditor #: 13                                                                           CREDIT CARD PURCHASES
SEARS/CBSD
13200 SMITH ROAD                                                                     H
Cleveland, OH 44130

                                                                                                                                                                        6,129.00
Account No. 6779                                                                         1986-2007
Creditor #: 14                                                                           CREDIT CARD PURCHASES
SEARS/CBSD
13200 SMITH ROAD                                                                     J
Cleveland, OH 44130

                                                                                                                                                                        6,344.00

           2
Sheet no. _____     2
                of _____ sheets attached to Schedule of                                                                                           Subtotal
                                                                                                                                                                       34,427.00
Creditors Holding Unsecured Nonpriority Claims                                                                                          (Total of this page)
                                                                                                                                                    Total
                                                                                                                          (Report on Summary of Schedules)            149,011.00


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  In re             Robert William Geddes,                                                                        Case No.       07-52776
                    Susan Mary Geddes
                                                                                                       ,
                                                                                       Debtors
                         SCHEDULE G. EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               indicate that by stating "a minor child" and do not disclose the child's name. See 11 U.S.C. § 112; Fed.R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                        Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                             State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                   State contract number of any government contract.

                     CHRYSLER FINANCIAL                                                   27 MONTH LEASE FOR A 2006 CHRYSLER
                     PO Box 2993                                                          PACIFICA
                     Milwaukee, WI 53201                                                  LEASE COMMENCES 9/2008
                                                                                          PAYMENTS $235.00 A MONTH
                                                                                          DEBTOR WILL ASSUME LEASE

                     Diamler Chrysler                                                     36 MONTH LEASE FOR A 2006 DODGE DAKOTA
                     PO Box 9223                                                          LEASE COMMENCES 8/2008
                     Farmington, MI 48333                                                 LEASE WAS PAID UPFRONT BY SON, NO
                                                                                          MONTHLY PAYMENT
                                                                                          FATHER IS CO-SIGNER ON LEASE
                                                                                          DEBTOR WILL ASSUME LEASE

                     FIFTH THIRD                                                          48 MONTH LEASE FOR A 2003 CHRYSLER TOWN
                     PO BOX 173764                                                        & COUNTRY VAN
                     Denver, CO 80217                                                     LEASE COMMENCES 7/2007
                                                                                          PAYMENTS ARE $328.00 A MONTH
                                                                                          DEBTOR WILL ASSSUME LEASE




       0         continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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  In re          Robert William Geddes,                                                                  Case No.       07-52776
                 Susan Mary Geddes
                                                                                                  ,
                                                                                       Debtors
                                                                       SCHEDULE H. CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     indicate that by stating "a minor child" and do not disclose the child's name. See 11 U.S.C. § 112; Fed. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                            NAME AND ADDRESS OF CREDITOR




       0       continuation sheets attached to Schedule of Codebtors
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              Robert William Geddes
  In re       Susan Mary Geddes                                                                          Case No.        07-52776
                                                                               Debtor(s)

                           SCHEDULE I. CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child.
 Debtor's Marital Status:                                                     DEPENDENTS OF DEBTOR AND SPOUSE
                                          RELATIONSHIP(S):                                            AGE(S):
        Married                                Son                                                         19
                                               Son                                                         23
 Employment:                                          DEBTOR                                                    SPOUSE
 Occupation                           2 MONTHS                                                  CASHIER-CASH OFFICE
 Name of Employer                     B&B TRUCKING                                              MEIJER
 How long employed                    TRUCK DRIVER                                              8 YEARS
 Address of Employer                  6147 TECHNOLOGY AVENUE                                    30800 LITTLE MACK
                                      Kalamazoo, MI 49009                                       Troy, MI 48099
 INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                  SPOUSE
 1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $         4,245.02        $       1,907.32
 2. Estimate monthly overtime                                                                             $             0.00        $           0.00

 3. SUBTOTAL                                                                                              $         4,245.02        $       1,907.32

 4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                 $             900.21      $        316.38
     b. Insurance                                                                                         $             411.67      $         43.55
     c. Union dues                                                                                        $               0.00      $         38.87
     d. Other (Specify)      See Detailed Income Attachment                                               $               0.00      $        206.73

 5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $         1,311.88        $        605.53

 6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $         2,933.14        $       1,301.79

 7. Regular income from operation of business or profession or farm (Attach detailed statement)           $               0.00      $           0.00
 8. Income from real property                                                                             $               0.00      $           0.00
 9. Interest and dividends                                                                                $               0.00      $           0.00
 10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or
      that of dependents listed above                                                                     $               0.00      $           0.00
 11. Social security or government assistance
 (Specify):                                                                                               $               0.00      $           0.00
                                                                                                          $               0.00      $           0.00
 12. Pension or retirement income                                                                         $               0.00      $           0.00
 13. Other monthly income
 (Specify):                                                                                               $               0.00      $           0.00
                                                                                                          $               0.00      $           0.00

 14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $               0.00      $           0.00

 15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         2,933.14        $       1,301.79

 16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals                                                        $            4,234.93
 from line 15; if there is only one debtor repeat total reported on line 15)
                                                                                     (Report also on Summary of Schedules and, if applicable, on
                                                                                     Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:




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Official Form 6I (10/06)



              Robert William Geddes
  In re       Susan Mary Geddes                                                Case No.   07-52776
                                                           Debtor(s)

                           SCHEDULE I. CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                             Detailed Income Attachment
Other Payroll Deductions:
 DENTAL SEC. 125-WIFE                                                          $          0.00       $     12.39
 STD-WIFE                                                                      $          0.00       $     19.93
 401 (K) CONTRIBUTION-WEEKLY-WIFE                                              $          0.00       $     95.33
 UNITED WAY-WEEKLY-WIFE                                                        $          0.00       $      1.08
 DENTAL & VISION-HUSBAND                                                       $          0.00       $     78.00
 Total Other Payroll Deductions                                                $          0.00       $    206.73




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Official Form 6J (10/06)


            Robert William Geddes
 In re      Susan Mary Geddes                                                                 Case No.    07-52776
                                                                  Debtor(s)


           SCHEDULE J. CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                 1,368.00
 a. Are real estate taxes included?                            Yes X              No
 b. Is property insurance included?                            Yes X              No
2. Utilities:      a. Electricity and heating fuel                                                          $                   250.00
                   b. Water and sewer                                                                       $                    30.00
                   c. Telephone                                                                             $                    45.00
                   d. Other See Detailed Expense Attachment                                                 $                   167.00
3. Home maintenance (repairs and upkeep)                                                                    $                    60.00
4. Food                                                                                                     $                   450.00
5. Clothing                                                                                                 $                    20.00
6. Laundry and dry cleaning                                                                                 $                    25.00
7. Medical and dental expenses                                                                              $                    20.00
8. Transportation (not including car payments)                                                              $                   400.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                    40.00
10. Charitable contributions                                                                                $                     0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                     0.00
                   b. Life                                                                                  $                    67.00
                   c. Health                                                                                $                     0.00
                   d. Auto                                                                                  $                   231.00
                   e. Other See Detailed Expense Attachment                                                 $                   540.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                   $                    0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                   328.00
                   b. Other PACIFICA LEASE PAYMENT                                                          $                   235.00
                   c. Other HOME EQUITY LOAN PAYMENT                                                        $                 1,010.00
                   d. Other                                                                                 $                     0.00
14. Alimony, maintenance, and support paid to others                                                        $                     0.00
15. Payments for support of additional dependents not living at your home                                   $                     0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                     0.00
17. Other PERSONAL CARE ITEMS                                                                               $                    40.00
    Other NEWSPAPERS & MAGAZINES                                                                            $                    19.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                 5,345.00
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                 4,234.93
b. Average monthly expenses from Line 18 above                                                              $                 5,345.00
c. Monthly net income (a. minus b.)                                                                         $                -1,110.07




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Official Form 6J (10/06)
            Robert William Geddes
 In re      Susan Mary Geddes                                                Case No.   07-52776
                                                         Debtor(s)

                      SCHEDULE J. CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                           Detailed Expense Attachment
Other Utility Expenditures:
CABLE AND INTERNET                                                                       $              100.00
CELL PHONES                                                                              $               67.00
Total Other Utility Expenditures                                                         $              167.00

Other Insurance Expenditures:
PACIFICA- INSURANCE- MONTHLY                                                             $              170.00
TOWN & COUNTRY VAN INSURANCE-MONTHLY                                                     $              170.00
DODGE RAM- INSURANCE-MONTHLY                                                             $              150.00
ESCORT-INSURANCE-MONTHLY                                                                 $               50.00
Total Other Insurance Expenditures                                                       $              540.00




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Official Form 6-Declaration. (10/06)

                                                                  United States Bankruptcy Court
                                                                           Eastern District of Michigan
             Robert William Geddes
 In re       Susan Mary Geddes                                                                                               Case No.        07-52776
                                                                                             Debtor(s)                       Chapter         7


                                         DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of 20 sheets [total shown
on summary page plus 2], and that they are true and correct to the best of my knowledge, information, and belief.

 Date       July 16, 2007                                                                     Signature:     /s/ Robert William Geddes
                                                                                                                                   Debtor

 Date       July 16, 2007                                                                     Signature:     /s/ Susan Mary Geddes
                                                                                                                             (Joint Debtor, if any)
                                                                                                  [If joint case, both spouses must sign.]

          DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP

     I, the     [the president or other officer or an authorized agent of the corporation or a member or an authorized agent of
the partnership] of the       [corporation or partnership] named as a debtor in this case, declare under penalty of perjury that I
have read the foregoing summary and schedules, consisting of          sheets [total shown on summary page plus 1], and that
they are true and correct to the best of my knowledge, information, and belief.

 Date                                                                                         Signature:

                                                                                                              [Print or type name of individual signing on behalf of debtor]

                              [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]

Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.




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Official Form 7
(04/07)


                                                                  United States Bankruptcy Court
                                                                           Eastern District of Michigan
             Robert William Geddes
 In re       Susan Mary Geddes                                                                                    Case No.       07-52776
                                                                                             Debtor(s)            Chapter        7


                                                          STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. Do not include the name or address of a minor child in this statement. Indicate payments,
transfers and the like to minor children by stating "a minor child." See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                             DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.

                                                               __________________________________________

                  1. Income from employment or operation of business

    None          State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
                  business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
                  year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
                  calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
                  report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
                  each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
                  petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE
                           $10,114.84                               2007- GROSS INCOME FROM B & B TRUCKING-H
                           $8,332.91                                2007-YTD GROSS INCOME FROM MEIJER-W
                           $6,888.85                                2007- GROSS INCOME FROM DAYTON FREIGHT-H
                           $416.00                                  2006- GROSS INCOME FROM B & B TRUCKING-H
                           $33,644.00                               2006- GROSS INCOME FROM DAYTON FREIGHT-H
                           $19,382.00                               2006- GROSS INCOME FROM MEIJER-W
                           $35,458.00                               2005-GROSS INCOME FROM B&B TRUCKING-H
                           $7,092.00                                2005- GROSS INCOME FROM DAYTON FREIGHT-H
                           $19,816.00                               2005- GROSS INCOME FROM MEIJER-W

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               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE
                           $19,417.00                               2006- GROSS INCOME FROM PENSION THROUGH B&B TRUCKING-H
                           $28.00                                   2006- GROSS INCOME FROM JURY DUTY-W
                           $13,135.00                               2006- GROSS INCOME FROM CASINO WINNINGS-J
                           $388.00                                  2006 TAXABLE REFUNDS
                           $3,600.00                                2005- WINNING FROM CASINO-J
                           $526.00                                  2005 TAXABLE REFUNDS

               3. Payments to creditors

    None       Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
               and other debts to any creditor made within 90 days immediately preceding the commencement of this case if the aggregate value of all
               property that constitutes or is affected by such transfer is not less than $600. Indicate with an (*) any payments that were made to a
               creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
               nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS                                                                  DATES OF                                          AMOUNT STILL
     OF CREDITOR                                                                   PAYMENTS                    AMOUNT PAID              OWING
 IRWIN HOME EQUITY                                                                 APRIL, MAY, JUNE              $3,030.00            $91,260.00
 12677 ALCOSTA BLVD. SUITE 5                                                       HOME EQUITY LOAN
 San Ramon, CA 94583
 WELLS FARGO                                                                       APRIL, MAY, JUNE               $4,104.00           $101,000.00
 PO BOX 29704                                                                      MORTGAGE PAYMENT
 Phoenix, AZ 85038
 CHRYSLER FINANCIAL                                                                APRIL, MAY, JUNE                $705.00             $21,361.00
 PO Box 2993                                                                       PACIFICA LEASE
 Milwaukee, WI 53201                                                               PAYMENT
 FIFTH THIRD                                                                       APRIL, MAY, JUNE                $984.51                    $0.00
 PO BOX 173764                                                                     TOWN AND COUNTRY
 Denver, CO 80217                                                                  LEASE PAYMENT

    None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case if the aggregate value of all property that constitutes or is affected by such
               transfer is not less than $5,475. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                                   AMOUNT
                                                                                   DATES OF                         PAID OR
                                                                                   PAYMENTS/                      VALUE OF           AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                                      TRANSFERS                     TRANSFERS             OWING

    None       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                    AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                                       DATE OF PAYMENT             AMOUNT PAID             OWING



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               4. Suits and administrative proceedings, executions, garnishments and attachments

    None       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                                             COURT OR AGENCY           STATUS OR
 AND CASE NUMBER                                NATURE OF PROCEEDING                         AND LOCATION              DISPOSITION

    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                                 DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                                 DATE OF SEIZURE              PROPERTY

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                           DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                         FORECLOSURE SALE,          DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                        TRANSFER OR RETURN                  PROPERTY

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                           ASSIGNMENT                      TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                   NAME AND LOCATION
 NAME AND ADDRESS                                                       OF COURT                        DATE OF        DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                    CASE TITLE & NUMBER                  ORDER                PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                             RELATIONSHIP TO                                      DESCRIPTION AND
 PERSON OR ORGANIZATION                                             DEBTOR, IF ANY                      DATE OF GIFT     VALUE OF GIFT




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               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                       DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                                 LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                          BY INSURANCE, GIVE PARTICULARS         DATE OF LOSS

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                                    DATE OF PAYMENT,                       AMOUNT OF MONEY
 NAME AND ADDRESS                                                                NAME OF PAYOR IF OTHER                OR DESCRIPTION AND VALUE
     OF PAYEE                                                                          THAN DEBTOR                            OF PROPERTY
 HUMMINGBIRD CREDIT COUNSELING                                                   5/23/07                              $89.00 FOR BOTH SESSIONS
 3737 GLENWOOD AVE                                                                                                    OF CREDIT COUNSELING
 RALEIGH, NC 27612
 KOSTOPOULOS & ASSOCIATES, P.C.                                                  6/21/07                              $299.00
 30800 VAN DYKE, STE 204
 WARREN, MI 48093

               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                        DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                                     DATE                           AND VALUE RECEIVED

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                                 AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                         DATE(S) OF              VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                                TRANSFER(S)             IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                                   TYPE OF ACCOUNT, LAST FOUR
                                                                                   DIGITS OF ACCOUNT NUMBER,           AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                  AND AMOUNT OF FINAL BALANCE                 OR CLOSING




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               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                              NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                     OF THOSE WITH ACCESS                     DESCRIPTION              DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                         TO BOX OR DEPOSITORY                     OF CONTENTS               SURRENDER, IF ANY

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                    DATE OF SETOFF                         AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


                                                                                 DESCRIPTION AND VALUE OF
 NAME AND ADDRESS OF OWNER                                                              PROPERTY                        LOCATION OF PROPERTY

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                         NAME USED                              DATES OF OCCUPANCY

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law




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    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                              NAME AND ADDRESS OF                      DATE OF                  ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                        NOTICE                   LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                              NAME AND ADDRESS OF                      DATE OF                  ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                        NOTICE                   LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                               DOCKET NUMBER                          STATUS OR DISPOSITION

               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                        LAST FOUR DIGITS
                                        OF SOC. SEC. NO./
                                        COMPLETE EIN OR
                                        OTHER TAXPAYER                                                                             BEGINNING AND
 NAME                                   I.D. NO.                         ADDRESS                       NATURE OF BUSINESS          ENDING DATES

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                           ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                            DATES SERVICES RENDERED


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                                                                                                                                                                7
    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
               of account and records, or prepared a financial statement of the debtor.

 NAME                                                  ADDRESS                                                  DATES SERVICES RENDERED

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                               ADDRESS

    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                         DATE ISSUED

               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                                DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                     INVENTORY SUPERVISOR                                     (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                           RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                               NATURE OF INTEREST                        PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                                NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                               TITLE                           OF STOCK OWNERSHIP

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                              ADDRESS                                               DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                               TITLE                           DATE OF TERMINATION




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               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                       AMOUNT OF MONEY
 OF RECIPIENT,                                                                  DATE AND PURPOSE                      OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                         OF WITHDRAWAL                         VALUE OF PROPERTY

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
               group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                               TAXPAYER IDENTIFICATION NUMBER (EIN)

               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an
               employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                     TAXPAYER IDENTIFICATION NUMBER (EIN)




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                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date July 16, 2007                                                             Signature    /s/ Robert William Geddes
                                                                                             Robert William Geddes
                                                                                             Debtor


 Date July 16, 2007                                                             Signature    /s/ Susan Mary Geddes
                                                                                             Susan Mary Geddes
                                                                                             Joint Debtor
                    Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                                   United States Bankruptcy Court
                                                                           Eastern District of Michigan
             Robert William Geddes
 In re       Susan Mary Geddes                                                                                                               Case No.     07-52776
                                                                                                  Debtor(s)                                  Chapter      7



                                                               STATEMENT OF ATTORNEY FOR DEBTOR(S)
                                                                  PURSUANT TO F.R.BANKR.P. 2016(b)
             The undersigned, pursuant to F.R.Bankr.P. 2016(b), states that:
1.           The undersigned is the attorney for the Debtor(s) in this case.
2.           The compensation paid or agreed to be paid by the Debtor(s) to the undersigned is: [Check one]
             [X]     FLAT FEE
              A.      For legal services rendered in contemplation of and in connection with this case,
                      exclusive of the filing fee paid . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          1,601.00
              B.           Prior to filing this statement, received . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .. .              212.00
              C.           The unpaid balance due and payable is . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                1,389.00
             [ ]          RETAINER
              A.          Amount of retainer received . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

              B.           The undersigned shall bill against the retainer at an hourly rate of $ . [Or attach firm hourly rate schedule.] Debtor(s)
                           have agreed to pay all Court approved fees and expenses exceeding the amount of the retainer.

3.           $     299.00        of the filing fee has been paid.
4.           In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including: [Cross out any
             that do not apply.]
             A.           Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
                          bankruptcy;
             B.           Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
             C.           Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
             D.           Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
             E.           Reaffirmations;
             F.           Redemptions;
             G.           Other:


5.           By agreement with the debtor(s), the above-disclosed fee does not include the following services:
                      Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay
                      actions, preparation of reaffirmation agreements, appearances for Motions for Approval of Reaffirmation
                      agreements, adjournments or any other adversary proceeding as stated in the fee agreement signed by
                      client(s). Additional fees as stated in fee agreement signed by client(s).

                          For all chapter 13 cases: All post-confirmation attorney fees, if any, shall be paid as a Class One
                          Administrative Expense.

                          *Consistent with the 2016-b statement and the debtor(s) fee agreement with Kostopoulos & Associates
                          PLLC., IF AT THE TIME OF CONFIRMATION, DEBTOR(S) ATTORNEY FEES EXCEED $3000.00, DEBTOR(S)
                          ATTORNEY SHALL FILE A FEE APPLICATION. IF THE ORDER CONFIRMING PLAN PROVIDES FOR THE
                          FILING OF ATTORNEY FEES BY APPLICATION, THEN FOR 30 DAYS FOLLOWING THE ENTRY OF THE
                          ORDER CONFIRMING PLAN, THE TRUSTEE SHALL HOLD FROM DISTRIBUTION THE SUM OF $3000.00 AS A
                          FUND FOR THE PAYMENT OF THE ATTORNEY FEES AND COSTS THAT SHALL BE DETERMINED BY THE
                          COURT PURSUANT TO 11 U.S.C SECTION 330 AND LBR 2016-2(EDM). IF NO FEE APPLICATION HAS BEEN
                          FILED WITHIN THIS 30 DAY PERIOD, THE RESERVED FUNDS WILL BE RELEASED FOR DISTRIBUTION TO
                          CREDITORS. If a fee application is timely filed, the trustee shall continue to withhold the above-indicated
                          sum until an order resolving the fee application has been entered with the Court. At that time, the Trustee
                          shall distribute the withheld funds according to the terms of the plan ad the order granting/denying fees.
                          Client(s) initials:__________
6.           The source of payments to the undersigned was from:
              A.        XX              Debtor(s)' earnings, wages, compensation for services performed
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              B.                                  Other (describe, including the identity of payor)
7.           The undersigned has not shared or agreed to share, with any other person, other than with members of the undersigned's law firm or
             corporation, any compensation paid or to be paid except as follows:

 Dated:        July 16, 2007                                                                           /s/ A. RITA KOSTOPOULOS
                                                                                                       Attorney for the Debtor(s)
                                                                                                       A. RITA KOSTOPOULOS P63178
                                                                                                       KOSTOPOULOS & ASSOCIATES PLLC
                                                                                                       d/b/a The Fresh Start Center Law Firm
                                                                                                       30800 Van Dyke Suite 204
                                                                                                       Warren, MI 48093
                                                                                                       586-574-0916 kosto1@comcast.net
                                                                                                       www.go4bankruptcy.com

 Agreed:       /s/ Robert William Geddes                                                               /s/ Susan Mary Geddes
               Robert William Geddes                                                                   Susan Mary Geddes
               Debtor                                                                                  Debtor




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                                                          UNITED STATES BANKRUPTCY COURT
                                                           EASTERN DISTRICT OF MICHIGAN

                                NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)
                                              OF THE BANKRUPTCY CODE
                      In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services available from
             credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of bankruptcy proceedings
             you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General may examine all
             information you supply in connection with a bankruptcy case. You are cautioned that bankruptcy law is complicated and not
             easily described. Thus, you may wish to seek the advice of an attorney to learn of your rights and responsibilities should you
             decide to file a petition. Court employees cannot give you legal advice.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

             Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total Fee $299)
          1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
whose debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to
decide whether the case should be dismissed.
          2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to
take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
          3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
          4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still
be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed
in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while
intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from
a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.

             Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
             $39 administrative fee: Total fee $274)
          1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments
over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the
Bankruptcy Code.
          2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them,
using your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
          3. After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly
listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.



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             Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.


             Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court.

                                                                               Certificate of Attorney
             I hereby certify that I delivered to the debtor this notice required by § 342(b) of the Bankruptcy Code.

 A. RITA KOSTOPOULOS P63178                                                                  X /s/ A. RITA KOSTOPOULOS                  July 16, 2007
Printed Name of Attorney                                                                       Signature of Attorney                    Date
Address:
d/b/a The Fresh Start Center Law Firm
30800 Van Dyke Suite 204
Warren, MI 48093
586-574-0916

                                                                                Certificate of Debtor
             I (We), the debtor(s), affirm that I (we) have received and read this notice.

 Robert William Geddes
 Susan Mary Geddes                                                                           X /s/ Robert William Geddes                July 16, 2007
 Printed Name of Debtor                                                                        Signature of Debtor                      Date

 Case No. (if known) 07-52776                                                                X /s/ Susan Mary Geddes                    July 16, 2007
                                                                                               Signature of Joint Debtor (if any)       Date




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                                                                                             Debtor(s)          Chapter    7




                                                 VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date:      July 16, 2007                                                       /s/ Robert William Geddes
                                                                                Robert William Geddes
                                                                                Signature of Debtor

 Date:      July 16, 2007                                                       /s/ Susan Mary Geddes
                                                                                Susan Mary Geddes
                                                                                Signature of Debtor




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